  6:10-cr-00084-RAW        Document 278        Filed in ED/OK on 08/07/12      Page 1 of 1




            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )      Case No. 10-CR-084--RAW
                                           )
MARVIN LORNELL VEALY,                      )
                                           )
              Defendant.                   )

                                 NOTICE OF DISMISSAL

       COMES NOW the plaintiff, United States of America, by and through United States Attorney

Mark F. Green and Assistant United States Attorney Christopher J. Wilson, and dismisses the

Superseding Indictment returned on January 12, 2011, as to the defendant MARVIN LORNELL

VEALY, pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure.

                                                  MARK F. GREEN
                                                  United States Attorney


                                                  s/ Christopher J. Wilson
                                                  CHRISTOPHER J. WILSON, OBA# 13801
                                                  Assistant United States Attorney
                                                  1200 West Okmulgee
                                                  Muskogee, OK 74401
                                                  Telephone: (918) 684-5100
                                                  FAX: (918) 684-5150

LEAVE GRANTED FOR FILING:


Dated this 7th day of August, 2012.


                                        j4h4i0
